   Case 2:19-cr-00525-KM Document 55 Filed 10/29/21 Page 1 of 1 PageID: 530


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



     UNITED STATES OF AMERICA
                                                  Criminal No. 19-525 (KM)
                         v.
                                                  SENTENCING SUBMISSION NOTICE
           WILLIAM GREEN                          OF THE UNITED STATES



       Please be advised that, on this date, the United States submitted sentencing materials

to the Court in this case concerning the defendant William Green.




Date: October 29, 2021                               RACHAEL A. HONIG
                                                     Acting United States Attorney

                                            By:      /s/ Anthony P. Torntore
                                                      Anthony P. Torntore
                                                      Matthew Feldman Nikic
                                                      Assistant U.S. Attorneys
